                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                CHARLESTON DIVISION


Bryant Heyward,                              )        C/A No.: 2:17-cv-1545 DCN MGB
                                             )
        Plaintiff,                           )
                                             )
        -vs-                                 )        ORDER OF DISMISSAL
                                             )
Keith Tyner, Richard Powell, Eric Watson, )
Mitch Lucas, and Al Cannon, individually )
and in their official capacities; Charleston )
County Sheriff’s Office; and Charleston      )
County Consolidated 911 Center,              )
                                             )
        Defendants.                          )
____________________________________)

       The court having been advised by counsel for the parties that the above action has been settled,

       IT IS ORDERED that this action is hereby dismissed without costs and without prejudice.

If settlement is not consummated within sixty (60) days, either party may petition the Court to reopen

this action and restore it to the calendar. Rule 60(b)(6), F.R.Civ.P. In the alternative, to the extent

permitted by law, either party may within sixty (60) days petition the Court to enforce the settlement.

Fairfax Countywide Citizens v. Fairfax County, 571 F.2d 1299 (4th Cir. 1978).

       AND IT IS SO ORDERED.




                                                      David C. Norton
                                                      United States District Judge

May 28, 2019
Charleston, South Carolina
